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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLO RIDA

                            Case No.15-24363-CIV-W ILLlAM S


   MARJAM SUPPLY CO M PANY OF FLO RIDA,
   LLC,and MARJAM SUPPLY COM PANY,

         Plainti#s/counter-Defendants

   VS.

   PLITEQ,INC .and PA UL DOW NEY,
         Defendants/counter-plaintils

                                           /


                                         O RDER

         THIS MATTER isbefore the Courton (i)DefendantPliteq lnc's sealed motionfor
   summary judgment(DE 162.
                          ,Defendant's statementofmaterialfacts,DE 163)towhich
   Plaintiffsfileda response (DE 181,
                                    .Plaintiffs'responsive facts,DE 181-1),and Pli
                                                                                 teqfiled
   a reply (DE 190)*
                   ,and (ii) Plaintiffs'motion for partialsumm ary judgment (DE 170.
                                                                                   ,
   Plaintiffs'statementofm aterialfacts,DE 171),to which Defendantsfiled a response (DE
   186.
      ,Defendants'responsive facts,DE 187),and Plaintiffsfiled a reply(DE 193).Forthe
   reasons set fodh below, Defendants' motion for summary judgment (DE 162) is
   G RANTED IN PART AND DENIED IN PART and Plaintiffs'm otion forpadialsum m ary

   judgment(DE 170)is GRANTED IN PART AND DENIED IN PART.
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          BACKG RO UND

         This case involves an exclusive distribution agreem entl of rubber acoustical

   underlayment products,specifically d
                                      'flat rubber, resilient, reduced sound transm ission

   matls)which (are)utilized directly beneath hard surface floorfinishes and overconcrete
   and wood construction, in order to provide sound attenuation controlin m ulti-fam ily

   housing,high-rise and commercialbuildings.' (DE 1 % 12). Plaintiffs Marjam Supply
   Company ofFlorida and Marjam Supply Company are affiliated Florida and New York
   corporations that supply and distribute building m aterials'
                                                              ,Counter-Defendant, Jam es

   Metcalf,is the company product manager (collectively, i'Marjam n). (DE 1 l!!l5-6).
   DefendantPliteq,lnc.(''Pliteq'
                                ')isa Canadiancorporationthatsuppliesrubberacoustical
   underlaymentproducts underitsown !abe!.2 (DE 1IN 7-8).Pliteq sourcesmostofthese
   productsfrom Kraiburg,a rubberm anufacturerbased in Germ any, and to a Iesserextent

   from Ultimate RB,a rubberrecyclerand m anufacturerincorporated in Delaware with its

   principalplace ofbusiness in M issouri(''URB'
                                               ').(DE 47 at6'
                                                            ,DE 164,Exhibit2).
         From 2013 to 2015,Marjam purchased $1.6 million worth ofPliteq's ''GenieMat
   RST''brand rubberm ats,prim arily to supply partners involved in the construction ofhigh-

   rise apartmentand condominium projects inSouth Florida.(DE 1111117,18). One such
   projectwas a high-rise residentialcondominium projectin Miamiknown as the ''Met3
   Project.' (DE 1:118). The realestate developerspearheading the Met3 Project,ZOM
   Living (''ZOM''),intended to use the GenieMatRST12 mats to provide sound insulation


   1The Padies did notsign a written contract, butthey concede thatthey generally abided
   by the term s ofa term sheetmem orialized in an em ailfrom M ichaelBergam to Jam es
   MetcalfofMarch 18,2014.(DE 181-5).
   2 Pliteq's Presidentand ChiefExecutive Officeris PaulDow ney. (DE 1% 9).
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   forthe occupants ofeach ofthe building's condom inium units. How ever, afterMar
                                                                                 jam
   delivered som e ofthe G enieM atRST12 m ats,ZOM 'S acousticalengineers tested them

   and found thattheirApparent ImpactInsulation Class (AIIC) ratings were Iowerthan
   expected,meaning thatthe sound attenuation capabili
                                                     ty ofthe m ats was below the Ievel

   ZOM required.(DE 181-1% 6).Marjam arguesthat,asaresult,ZOM cancelledtheorder,
   returned the underperforming GenieMatRST12 matsto Marjam ,and turned to Marjam 's
   competi
         torto purchase a di
                           fferentbrand ofmatsthatmetZOM's needs. (DE 1!122'
                                                                           ,DE
   181-1% 7-8). Marjam argues thatZOM's cancellation ofthe order,resulted ''in the loss
   to Marjam ofa 256,000square feetorderofGenieMatand a corresponding Ioss$87,000
   in profits.'' (DE 181-1% 8). Afterthis Ii
                                           tigation began,Marjam advised thatithad Iost
   trackofallthe Pliteq mats includingthose thatwere the subjectofthislitigation and that
   Marjam had previously represented were being m aintained intheirinventory.(DE 164 at
   32,73). Subsequently,when James Metcalf,Marjam's Iitigation manager,was asked
   again aboutthe m ats he testified that ''som e of the product that was in question was

   actually sold afterthe datej''buthe could notidenti
                                                     fy the exactproductthatwas sold, who

   itwas sold to,orwhen itwassold.(DE 164 at32).
         In the sum m erof2015,cedain disputes arose between the parties. (DE 218at9).

   According to Pliteq,Pli
                         teq Iearned thatMarjam was violating the distribution agreement
   by selling productsfrom Pliteq's competitor,Ecore.(DE 163119-10).Additionally,Pli
                                                                                   teq
   claimsthatMarjam had failed to pay Pliteq inadvance oforders,as had been agreed to,
   in orderto obtain adiscount. (DE 163% 11). By contrast,Marjam claimsthatthere was
   only one ''isolated and unauthorized'
                                       'sale of Ecore product and that the only reason

   Marjam didnotpay inadvancewasbecause Downeyand Metcalfhad agreed thatMarjam
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    ''would m ake periodic paym ents atan interval' (DE 181-1at3).The Padiesagreethat
                                                .




    Pliteq stopped shipping productto Marjam on July 10,2015. (DE 218 at9) ln August
                                                                               .



   2015,counselfor Marjam sent a demand Ietter to Pliteq claiming that Pliteq was
   purposefully mislabeling the GenieMatsthatitsold to Marjam.(DE 181-12 at3) M etcalf
                                                                                   .



   then forwarded that Ietterto, at Ieast, a representative of Suffolk Construction and a

   representative ofMoss Developmentstating thatMarjam had 'ceased selling Geniemat
   products by Pliteq due to recentinform ation aboutillecalactivity ' (DE 163$ 21*
                                                                .
                                                                                  ,DE 164
   at139'
        ,DE 181-1 at5).
          On November24,2015,Marjam broughteightcauses ofaction againstMarjam:
   Count1 alleges thatPliteq violated Florida's Deceptive and UnfairTrade Practices Act

   (''FDUTPAD),Fla.Stat.j 501.24,
                                .Count2 alleges thatPliteq violated the Lanham Act's
   prohibition on false and m isleading advertising, 15 U.
                                                         S.C.j 1125(a)(1)'
                                                                         ,Count3 for
   breach ofexpress warranties'
                              , Count4 f
                                       orbreach ofim plied warranty ofm erchantability;
   Count 5 for breach of im plied warranty offi
                                              tness fora particular purpose'Count6 for
                                                                           ,


   comm on law fraud'
                    ,Count7 forbreach ofcontract;and Count8 alleging thatPliteq was

   pad ofa civilconspiracy to defraud Marjam.3 (DE 1). On the date the complaintwas
   filed,Marjam sentanemailto some ofMarjam'sand Pliteq'sbusinesspadners, attaching
   the complaint,and stating thatMarjam was ''extremely concerned aboutcurrentand
   future Iiability.''(DE 153 at285).
         Pliteq responded by bringing counterclaim s agai
                                                        nstMarjam and Metcalffor(1)
  todious interference with contracts'
                                     , (
                                       2)todious interference with potentialbusiness'
                                                                                    ,(3)


  3Marjam also asseded claimsagainstURB and PaulDowney, butthe Coud dism issed
  those claims on URB'S motionto dismissand Downey's motionforsummaryjudgment,
  respectively.
                                            4
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   violation ofsection 43(a)ofthe Lanham Act'
                                            ,(4) common Iaw unfaircompetition'
                                                                             ,(5)
   breachofcontractand (6)copyrightinfringement.Pliteq'scounterclaimsare based on(i)
   the statements thatMarjam made to third padies afterthe business relationship with
   Pliteq had ended,and (ii)a copy ofthe GenieMatbrochure,which is an exactreplica of
   a section of Pliteq's brochure with cedain annotations related to com peting products

   supplied by MAPEI,a Marjam customer. Pli
                                          teq contends that Marjam created this
   brochure and itinfringes on theircopyright.

   II.      LEGA L STANDARD

            Summary judgmentis appropriate ''ifthe movantshows thatthere is no genuine
   dispute asto anymaterialfactand the movantisentitled tojudgmentasa matteroflaw.''
   Fed.R.Civ.P.56(a). Underthis standard,''Eolnly disputes overfacts thatmightaffect
   the outcome ofthe suitunderthe governing Esubstantive!Iaw willproperly preclude the
   entryofsummaryjudgment.'Anderson v.LibertyLobby,Inc.,477 U.S.242,248 (1986).
   And any such dispute is ''
                            genuine'
                                   'only ''i
                                           fthe evidence is such thata reasonable jury
   could return a verdictforthe nonm oving pady.'' Id.

            Inevaluating a motionforsummaryjudgment,the Courtconsidersthe evidence in
   the record,''including depositions,documents,electronically stored inform ation,alidavits

   ordeclarations,stipulations ...,adm issions,interrogatory answers,orotherm aterials .

      .
         ' Fed.R.Civ.P.56(c)(1)(A). The Court''m ustview aIIthe evidence and aIlfactual
   inferences reasonably drawn from the evidence in the light m ost favorable to the

   nonm oving pady,and m ustresolve aIIreasonable doubts aboutthe facts in favorofthe

   non-movant.''Rioux B.City ofAtlanta,520 F.3d 1269,1274 (11th Cir.2008)(quotation
   marks and citations omitted).Atthe summaryjudgmentstage,the Coud'staskis notto


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   'weigh the evidence and determ ine the truth ofthe m atterbutto determ ine whetherthere

   is a genuine issue fortrial.''Anderson,477 U.S.at249.

          Forissues forw hich the m ovantwould bearthe burden ofproofattrial, the party

   seeking summaryjudgment''mustshow affirmatively the absence ofa genuine issue of
   m aterialfact:itm ustsupportits m otion with credible evidence...thatwould entitle itto a

   directed verdict ifnotcontroverted attrial.In otherwords,the m oving party m ustshow

   that,on aIIthe essentialelem ents ofits case on w hich itbears the burden ofproofattrial,

   no reasonable jury could find forthe non-moving party.Ifthe moving party makes such
   an affirmative showing,itis entitled to summaryjudgmentunless the non-moving pady,
   in response,comels)forward wi
                               th significant,probative evidence demonstrating the
   existence ofa triable issue offact.'' Fitzpatrick B.City ofAtlanta,2 F.3d 1112,1115-16

   (11th Cir.lgg3ltemphasis in original).
          Moreover,whena motionforsummaryjudgmentispresentedtothe Court,itopens
   the entire record forconsideration,and the Coud may enterjudgmentin favorofthe
   nonm oving pady on any grounds apparentin the record,even w here there is no formal

   cross-motion.See Burton v.City ofBelle Glade,178 F.3d 1175,1204 (11th Cir.1999).
   111.   DISCUSSION

          Pliteq argues thatit is entitled to summary judgment on aIIMarjam's claims
   becauseMarjam hasfailedto establishcausationanddamageswith respecttoeachone.
   Marjam moves forsummary judgmentwith respectto Pliteq's claims for (i)tortious
   interference wi
                 th contract,(ii) Lanham Act violations,(iii) unfair competition,and (iv)
   copyrightinfringem ent.




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          h.    Pliteq's M otion forSum m ary Judgm ent

          Marjam has abandoned its $50,000 claim foractualdamages related to unsold
   Pliteq inventory and its $320,000 claim foractualdamages,which ithad argued,was
   ''measured by the im puted differences in the relative prices applicable to the varying

   m isrepresented thicknesses ofthe GenieM atRST products ithas purchased from Pliteq ''.




   (DE 1 !131). Therefore,the Coud reviews Pliteq's motion forsummary judgmentand
   Marjam's causes ofaction only to the extentthey advance Marjam's sole remaining
   damages claim for$87,000 in Iost profits related to ZOM 's cancellation of GenieM at

   ordersforthe Met3 project.
         The Parties have three m ain areas offactualdispute First,the Parties do not
                                                                .




   agree on whetherthe mats sold to Marjam were sourced from URB orPliteq's German
   manufacturerKraiburg. Downey testified thatMarjam neverreceived any URB product,
   andthatthe mats soldto Marjam were sourced from Kraiburg. (DE 1631168). He stated
   thatPliteq marks aIIinvoices forproductoriginating in URB w ith a t
                                                                     'U''afterthe product's

   name,and none ofthe invoicessentto Marjam were marked with a 'dU''.4 (DE 163!169).
   In response,Marjam offers testimony from Marjam's product manager,Metcalf,who
   testified thathe Iearned from John Freidkes,a Pliteq em ployee atthe time, thatMarjam

   did in factreceive matssourced from URB. (DE 219-10at25). Marjam allegesthatthis
   iscorroborated by the factthatMarjam's paymenttermswere FOB New Yorkand FOB,
   New Jersey. (DE 181-1 at             Because Pliteq sold most URB products in the



   4In its Replyto Marjam's Response inOpposi
                                            tiontoSummaryJudgment,Pliteqattaches
   three invoices addressed to llExcellence in Stone''regarding salesto thatbusiness, which
   contain a ''U''afterthe productname. Pliteq assedsthat,perthatdesignation, those m ats
   were sourced from URB. (DE 190-1 at20-22).
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   ''Northeast,' Marjam contends thatthe factthattheir mats were shipped from those
    locations mustmeanthatthose matswere sourced from URB. (DE 181-1at11).
          Second,the Parties do notagree on whetheran addi
                                                         tionalpurchase orderwas or

   even could have been madeforthe Met3 project. Pliteq assertsthe only reason Marjam
   did notsellGenieMatto the Met3 projectin Julyof2015 isççbecause Pliteq terminated
   the distributorship agreem entand cutof Marjam 's supply,''and,in anyevent,there
   is no evidence thatMarjam everordered ortook delivery ofthe additionalmatsthatare
   the basis ofMarjam 's claims. (DE 162 at 13). Although Marjam agrees thatPliteq
   stopped shipping producton July 10,2015,Marjam disputes thatPliteq terminated the
   agreementbefore Marjam madetheverbalorderforadditionalmats,and statesthatthey
   neverrecei
            ved a notice ofterm ination ofthe distribution agreem ent. Mar
                                                                         jam contends
   thatMetcalfhim selfm ade a verbalpurchase orderforthe additionalm ats thatwould be

   used forMet3. (DE 219-10 at25,110).Additionally,Marjam offers invoices and emails
   showing thatMarjam wassupplying GenieMatRST 12 to Met3 up untilthe pointwhere
   the m atswere tested and deem ed by ZO M to be inadequate (DE 181-1 at10-11).
                                                               .




         Third, the Padies dispute whether Pliteq's ''Data Sheets'' and 'lproduct

   Specifications''contained false orm isleading inform ation. Pliteq argues thatbecause all

   acoustical products have certain tolerances and Pliteq'
                                                         s GenieM at products d
                                                                              'are

   expressly withinthe stated tolerances in the ProductG uide'
                                                             'there is no m isrepresentation

   offact. (DE 162 at14). lndeed,Pliteq claims that'sthe specification sheets foreach
   GenieM atproductliststhe thickness as 'nom inal'''to accountforthe accepted variances

   inthe product. Id. On the otherhand,Marjam arguesthatthe 'dData Sheets''produced
   by Pliteq in suppod of its m otion are from 2016,and,instead, the isData Sheets'
                                                                                  'and


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   ''ProductSpecifications''givento Marjam in 2014,did notspecify thatthe measurements
   were ''nominal.'s (DE 181-1 at 10). Specifically,Marjam asseds thatPliteq's ''Data
   Sheets''and 'lproductSpecifications'
                                      'indicated thatthe GenieM atRST12 had a thickness

   of12 m m and an AIIC rating of53,butdocum ents produced during discovery and testing

   conducted atthe Met3 projectshow thatthe GenieMatRST12 sold to Marjam actually
   measured Iess than 12mm and had an AIIC rating ofonly 47. (DE 1 $ 21.
                                                                       ,DE 181-1 at
   13, 16).As a resul
                    t,Marjam claims thatZOM cancelled additionalpurchase orders
   causing Marjam a Iossof$87,000 in Iostprofits.The Courtaddresses Pliteq's m otion in
   Iightofthe factualdisputes discussed above.

                   FDUPTA Claim

         To state a FDUTPA claim ,plaintiffm ustallege:(1)a deceptive actorunfairtrade
   practice'
           ,(2)causation'
                        ,and (3)actualdamages.Dolphin LLC v.W CIComm unities,Inc.,
   715 F.3d 1243 (11th Cir.2013). A deceptive actorunfairpractice may be found when
   'there is a representation,om ission,orpractice that is Iikely to m islead the consumer

   acting reasonably in the circumstances,to the consum er's detrim ent.'' Econom akis v.




   Butler & Hosch,P.A.,No.2:13-CV-832-FTM -38DN,2014 W L 820623, at*2 (M.D.Fl
                                                                            a.
   Mar.3,2014).Importantly,S'FDUTPA offerstwo typesofremedies:equitable reliefinthe
   form ordeclaratoryorinjunctive reliefpursuantto Fla.Stat.501.211(1)oractualdamages
   pursuantto Fla.Stat.501.211(2).''Eclipse Med.,Inc.B.Am.Hydro-surgicalInstruments,


   5The Data Sheets and ProductSpecifications referred to by the Padies were contained
   in Pliteq's brochure,which was provided to Marjam in 2014. Itshould be noted thatthe
   brochure relied upon by Marjam in the Complaint does contain the ''nom inalvalue''
   Ianguage. However,the d'nom inalvalue''Ianguage is only found on the Iastpage ofthe
   docum ent,below the AcousticalTesting Standards inform ation, and does notappearon
   the firstpage where the ''ProductSpecifications''are Iisted.(DE 1,ExhibitB).

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    Inc.,262 F.Supp.2d 1334,1357 (S.D.Fla.1999),aff'
                                                   d sub nom .Ecll
                                                                 pse Med., Inc.B.
    Am.Hydro-surgical,235 F.3d 1344 (11th Cir.2000).
           Here,Marjam has abandoned its claims foractualdamages and i
                                                                     ts remaining
    dam ages claim s are forIostprofits arising outofZOM 's cancellation ofan orderrelating

    to the Met 3 project. However, Florida courts llspecifically reject the recovery of
    consequential dam ages under FDUPTA.'' Id            .   (finding that actualdamages under
    FDUPTA is a term ofartdefined as 'the difference in the m arketvalue ofthe productor

    service in the condition in which itwas delivered and its m arketvalue in the condition in

    which itshould have been delivered . '
                                         '). They also do notallow recovery ofpunitive
                                           ..



    dam ages underthe statute. Rollins, Inc.v.Heller,454 So.2d 580, 585-86 (Fl
                                                                             a.3rd DCA
    1984)(''A claim forpunitive damages isoutsidethe scope ofchapter501and FDUPTA '').    .




          In addition,although Marjam asseds a claim forinjunctive relief,Marjam doesnot
    have Adicle IIIstanding to assed such a claim 6 Indeed, '
                                                     .
                                                            tlallthoughthe FDUTPA allows
    a plaintiffto pursue injunctive reliefevenwhere the individualplainti
                                                                        ffwillnotbenefitfrom
    an injunction,itcannotsupplantConstitutionalstanding requirements.Article IIIofthe
    Constitutionrequiresthata plaintiffseeking injuncti
                                                      vereliefallege athreatoffuture harm ''  .



    Dapeer v. Neutrogena Corp., 95 F.Supp.3d 1366,1373 (S.D.Fl
                                                             a.2015),
                                                                    .see also
    O'
     Shea v.Littleton,414 U.S.488, 495-96,94 S.Ct.669,38 L.Ed.2d 674 (1974)(d
                                                                            lpast
   exposureto illegalconductdoesnotin itselfshow a presentcase orcontroversy regarding

   injunctive relief ... if unaccompanied by any continuing, present adverse effects.D).


   6The Coud can considerthe question ofstanding sua sponte 'As the Suprem e Coud
                                                                       .

   made clearin United States ?.Hays ...(tlhe federalcourts are underan independent
   obligation to examine theirown jurisdiction,and standing is perhapsthe mostimpodant
   of(the jurisdictional)doctrines.'' Bischoffv.Osceola Cty.,FIa.,222 F.3d 874,877-78
   (11th Cir.2000)(internalcitations omitted).
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    Marjam's claims forIostprofits are forpastinjury. Marjam has notalleged,argued or
    produced any evidence showinga threatoffuture harm .To the contrary,Marjam admits
    thatthe distribution agreementwasterminated (DE 181-1 at13)and thatPliteq's current
    data sheets and productspecifications (1) Iistthe thicknesses ofthe mats in nominal
    value,and (2) state the standard tolerances for each mat (DE 181-1 at 9-10, 12).
    Accordingly,because Marjam doesnotseekactualdam agesandhasnostandingtoseek
    injunctive relief,Marjam maynotmaintain a claim underFDUPTA.
                 2. Lanham ActClaim

          ''Tosucceed on afalse advedising claim underj43(a)(1)(B)ofthe Lanham Act,a
    plaintiffmustestablish that(1)the advedisements ofthe opposing party were false or
    m isleading'
               ,(2)the advedisementsdeceived,orhad the capacityto deceive,consumers'
                                                                                   ,
    (3)the deception had a materialeffecton purchasing decisions'
                                                                ,(4)the misrepresented
    productorservice affects interstate commerce'
                                                ,and (5)the movanthas been- oris Iikely
    to be- injured as a resultofthe false advertising.'' Hickson Corp.v.N.Crossarm Co.,
    357 F.3d 1256, 1260 (11th Cir.2004), Additionally,a plaintiff must have statutory
    standing to bring a Lanham Act claim . See Lexm ark Intern., Inc., B. Static Control

    Components Inc.,134 S.Ct.1377,1387 (2014) (finding thatthe Coud is required to
    determinewhetherCongress authori
                                   zed the plaintiffto sue underthe Lanham Act).The
    CourtfindsthatMarjam doesnothave standing to pursue this claim.
          A Lanham Actfalse advertising claim arises when '
                                                          tEalny person who,on orin
    connection with any goods ...uses in com merce any ...false orm isleading description of

    fact,orfalse orm isleading representation offact,which ...in com mercialadvedising or

    promotion,m isrepresents the nature,characteristics,qualities,orgeographic origin ofhis


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    orheroranotherperson'sgoodsE.l''15 U.S.C.j 1125(a).The testfordeciding whether
    a plaintiffhas statutory standing?underthe Lanham Actrequires the courts to determ ine

    whether the plainti
                      ff's interests l'fallw i
                                             thin the zone of interests protected by the Iaw

    invoked''and whetherthe injuries suffered by plaintiffwere 'proximately caused by
    violations ofthe statute.' Id.at1388,1390. The Courtexplained the scope ofthe ''zone

    ofinterests'
               'as follows:

                 ET)o come within the zone ofinterests in a suitforfalse advedising
                 underj 1125(a),a plaintiffmustallege an injury to a commercial
                 interestin reputation orsales. A consum erw ho is hoodw inked into
                 purchasing a disappointing productmay wellhave an injury-in-fact
                 cognizable underArticle 111,buthe cannot invoke the protection of
                 the Lanham Act- a conclusion reached by every Circuitto consider
                 the question. Even a business m isled by a supplier into
                 purchasing an inferiorproductis,Iike consum ers generally,not
                 underthe Act's aegis.

    /d.at1390 (ci
                tations omitted)(emphasisadded).
          This follows from 'the Act's goalofprotect(ing)persons engaged in (commerce
    within the controlofCongress)againstunfaircompetition.''Id.at1389.Thus,while the
    Suprem e Courthas found that in som e instances non-com petitors m ay have standing,

    ''the cause ofaction is forcom petitors,notconsum ers.'' POM W onderfulLLC B Coca-
                                                                                    .




    Co/a Co.,134 S.Ct.2228,2234 (2014). Indeed,inothercases similarto thisone,where
    a supplier has m isled a business partner,the courts have found the plaintiffs in those

    casesto Iackstanding.See TheKnitW th 7.Knitting Feee6 Inc.,625 Fed.Appx.27 (10th
    Cir.2015)(d
              lyarn retailerwho alleges to have been m isled by its supplierinto purchasing

    7 In the past, couds have referred to this test as one for 'prudentialstanding,''butthe
    Supreme Courtin Lexmark rejected this characterization and instead found thatthe
    relevantinquiry is notwhetherstanding is 'sprudential''butrather,whether'd
                                                                             this padicular
    class ofpersons has a rightto sue underthe substantive statute.'' Lexm ark,134.S.Ct.
    at1387.

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    m islabeled yarn, is not within the zone of interests protected by the Lanham Act'
                                                                                     ')'
                                                                                       ,   .




    Nature'sProducts,Inc.v.Natrol,/nc.,990 F.Supp.zd 1307 (S.D.Fla.2013)(finding that
    sellerofhealthcare products could notbring false advedisementclaim s againstits own

    manufacturer).
              On this record,Marjam cannotdemonstrate thatithas suffered the type ofinjury
    protected by the Lanham Act. This is notthe typicalfalse advertisem entcase, w here a

    com peti
           tor makes false or m isleading statements to induce consum ers to switch

    allegiance from one com pany to the other. Itis also nota case where a non-com petitor

    suffered injuries resulting from disparaging commentsaboutits product. Instead,this is
    preciselythe type ofcase thatthe Suprem e Coud has ruled is notcovered by the Lanham

    Act:'a business m isled by a supplierinto purchasing an inferiorproduct' Lexm ark,134
                                                                             .




    S.Ct.at1390.Accordingly,Marjam lacksstandingto bringa Lanham Actfalseadvedising
    claim .

                    3. Comm on Law Fraud Claim

          Marjam arguesthatitscommonIaw fraudclaim ismeritoriousbecause Pliteqmade
    a false representation offact,Marjam relied on thatrepresentation,and in turn suffered
    $87,000 in damages forIostprofits. (DE 181 at20). The Court,however,finds that
    Marjam's common Iaw fraud claim is barred bythe economic Iossdoctrine.
          ln a sim ilarcase,Judge Moreno explained the econom ic Ioss doctrine as follows:

                    '
                    $(T)he economic Ioss rule is a judicially created doctrine thatsets
                   fodh the circum stances underw hich a tortaction is prohibited ifthe
                   only dam ages suffered are econom ic Iosses.''Tiara Condo.Ass'   n v.
                    Marsh & M cLennan Cos.Inc.,110 So.3d 399,401 (FIa.2013). The
                   Florida Suprem e Coud has defined econom ic Ioss as ''dam ages for
                   inadequate value,costs of repairand replacem entofthe defective
                   product,orconsequentIoss ofprofit- w ithoutany claim ofpersonal
                   injury ordamage to otherpropedy.'Id.(internalquotation marks

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                 omitted). Florida'sSupreme Courthasexplained that'ltlhe rule has
                 its roots in the products Iiability arena,and w as prim arily intended to
                 Iim itactions in the products Iiability context.''Id.Speci
                                                                          fically,the court
                 explained the econom ic Ioss rule is ''the fundam ental boundary
                 between contractIaw,which is designed to enforce the expectancy
                 interests of the padies, and tod law , which im poses a duty of
                 reasonable care and thereby encourages citizens to avoid causing
                 injury physical harm to others.''Id ... Florida's Supreme Coud
                 expressly Iim ited the application of the econom ic Ioss rule to the
                 productsIiability context.(internalquotation marks om itted).
    In re Takata Airbag Products Liability Litigation,193 F.supp.3d 1324,1338 (S.D.Fla.
    2016). ''The doctrine is commonl
                                   y applied to negligence claims,butclearly extends to
    bar claim s for com m on !aw fraud ... in the absence of conduct S'independent''ofthe

    contractualrelationship.''N afersv.Int'
                                          lPreciousMetalsCorp.,172 F.R.D.479,499(S.D.
    Fla.1996). The economic Ioss doctrine is applicable where,as here,the tortclaim
    accom panies breach ofwarranties claim s. See Aprigliano v.Am erican Honda MotorCo.,

    Inc.,979 F.Supp.2d 1331,1336 (S.D.Fla.2013)(findîng thatfraud in the inducement
    was barred because 'dam age to a product itself is m ost naturally understood as a

    warranty claim . Such dam age m eans sim ply thatthe producthas notm etthe custom er's

    expectations,or,in otherwords,thatthe customerhas insufficientproductvaIue.').
          lnthiscase,theonlydamagesallegedlysustainedbyMarjam are economiclosses
    related to the lostsalesforthe Met3 project.Further,Marjam'scause ofaction forfraud
    relies on the exactallegations contained in its breach ofwarranties claims- nam ely,that

    the m ats received were thinner than represented and underperform ing. As a result,

    Marjam's common Iaw fraud claim is barred by the economic Ioss doctrine. See e.g.,
    HFC Leleu Family Trust B. Piper Aircrak Inc., No. 1:12-cv-211I8-KMM,2012 W L
    4982633,at*4 (S.D.Fla.Oct.17,2012)(finding fraud related claimswere barred where
    the only dam ages alleged were purely econom ic Iosses and the allegations in the

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    complaintin supportofthose claims aIIrelated to the question of''whetherEdlefendant
    breachedthe agreementby providing a defective (productl.''
                                                             ).
                 4. Breach ofContractand Breach ofW arranties Claim

          Counts 3,4,6 and 7 ofthe Com plaintare forbreach ofexpress warranty,breach

    ofim plied warranty ofm erchantability,breach ofim plied warrantyoffitnessfora particular

    purpose and breach ofcontract. A cause ofaction forbreach ofw arranties requires a

    showing of 1)facts in respectto the sale ofthe goods,2)identification ofthe types of
    warranties created,3)facts in respectto the creation ofthe particularwarranty,4)facts
    in respectto the breach ofwarranty,5)notice to sellerofbreach and 6)the injuries
    sustained by the buyeras a resultofthe breach.Cc-Aventura,Inc.B W entz Co.,LLC,
                                                                         .




    2009 W L 2136527 (S.D.Fla.2009). Specifically,''Ealn eXPXSS Warranty iS generally
    considered to arise only where the sellerasserts a factofwhichthe buyeris ignorantprior

    to the beginning ofthe transaction and onwhich the buyerjustifiably reliesaspartofthe
    basisofthe bargain,''Thursby v.ReynoldsMetals Co.,466So.2d 245,250 (FIa.1stDCA
    1984)(internalcitationsand quotationsomittedl;'$(aJcauseofactionforbreachofimplied
    warranty ofmerchantability requires allegations that(1)the plaintiffwas a foreseeable
    userofthe product,(2)the productwas used in the intended manneratthe time ofthe
    injury,(3)the productwas defective when transferred from the warrantor,and (4)the
    defectcaused the injury,''Jovine v.AbbottLabs.,795 F.Supp.2d 1331,1340 (S.D.Fla.
    2011).
         ,and,to succeed on a claim forbreach ofwarranty fora padicularpurpose 'ila)
    plaintiffm ustprove thatthe defendant,atthe tim e the sale was m ade,knew ofa padicular

    purpose forwhich the goods were going to be used and thatthe plaintiffrelied upon the

    defendant'
             sskillandjudgmentwhen purchasing said product.''Pavletic 7.Bertram Yacht,


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    /nc.,No.11-60484-CIV,2011W L 3475394,at*7 (S.D.Fla.Aug.9,2011).Additionally,
    to establish a breach ofcontractunderFlorida Iaw,a Plaintiffmustshow 1.(1)a valid
    contract,
            '(2)a materialbreach'
                                ,and (3)damages.''SeeBeckv.Lazard Freres & Co.,LLC,
    175 F.3d 913,914 (11th Cir.1999).
           Marjam'sclaimsforbreach ofwarrantiesand breach ofcontractare based onthe
    samesetofallegations.Essentially,Marjam claimsthatPliteqbreachedthecontractand
    warranties by supplying productthatfailed to 'lconform to the specifications contained in

    oron the productIabels,brochures and specification sheets.'' (DE 181 at20). Pliteq
    does nottake issue w ith the elem ents ofeach cause ofaction individually. Rather,Pliteq

    moves forsum mary judgment,arguing thatMarjam has notoffered evidence thatthe
    productused atMetcontained any misrepresentations and,thatin any,eventMarjam
    cannot prove damages. Specifically,Pliteq argues that (1) Marjam has not offered
    credible evidence to rebutDowney's assedion thatPliteq neversold any URB m ats to

    Marjam ,(2)there is no evidence in the record thatMarjam ever made an orderfor
    additional mats for the Met 3 project and (3) the product specifications Iisted the
    thicknesses ofthe m ats in nom inalvalue,so there was no m isrepresentation offactand

    therefore,no breach ofwarranties orcontract.

          Marjam responds thatMetcalf's testimony confirmsthatatIeastsome URB mats
    were sold to Marjam and thatMetcal
                                     f himselfmade a verbalpurchase orderforthe
    additionalmatsthatwould be used forMet3.(DE 219-10 at25,110).W hile Pliteq claims
    thatMarjam could nothave ordered the mats because Pliteq terminated the agreement,
    there is a factualdispute as to whetherthe purchase orderwas m ade before term ination.

    Indeed, it is unclear from the record when the agreem ent was actually term inated.


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    Additionally,Marjam assertsthatthe data sheets receivedfrom Pliteq before Iitigation did
    not specify that dimensions were '
                                     tnominalonly''B (DE 181 at 17) and suppods that
    assedion by attaching a product specification sheet for the GenieM at RST02 w hich

    describes the matas being 2mm (1/8'
                                      ')thick (DE 181-16).9 Moreover,the Courtnotes
    thatMarjam 's claims are based notonly on the thickness ofthe mats butalso on their
    STC and AIIC ratings (DE 1% 18-22),and as reflected by an expertfirm thattested the
    m ats used atMet3,the AIIC ratings were severalpoints below expected. (DE 181-1at

    6'
     ,DE 181-26).Thus,the Coud finds thatgenuine issues offactremain forthejury and
    summaryjudgmentis notwarranted onthe breach ofcontractand breach ofwarranties
    cIaim s.

          B.     Marjam's motion forpadialsum maryjudgm ent
                 1. Lanham ActClaim

          Marjam claimsthatsummaryjudgmentiswarranted on Pliteq's Lanham Actclaim
    because Pliteq cannot establish that the alleged false statem ents were m ade ''in

    com mercialadvedisem ent or prom otion'' as required by the statute.lo specifically,

    Marjam claims thatthe representations at issue,were not made '
                                                                 tforthe purpose of

    8As previously stated, Pliteq is rightthatthe brochure does contain the ''nom inalvalue''
    Ianguage. However,because that Ianguage is not included in the podion Iisting the
    productspecifications,there is an issue offactas to w hetherthe brochure contains false
    ormisleading statements.(DE 1,ExhibitB).
    9 W hile the Coud acknow ledges that this is inform ation about a separate acoustical
    productnotatissue in this case,itis a docum entgenerated during the tim e relevantto
    the issues atbar,and m ay be germ ane.

    10Unlike Marjam ,Pliteqdoes have statutorystandingto pursue thisclaim because,atthe
    time Pliteq suffered the alleged injury,Marjam and Pliteq were competitors. Pliteq's
    claims arise from com m unications between M etcalfand third padies stading in August
    2015. Marjam concedes that,atIeast,byJuly 24,2015,Pliteq and Marjam had become
    competitorsand Marjam had begun selling Ecore products. (DE 181-1at7,15).
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    influencing customers to buy defendant's goods or services.'' (DE 170 at 14).
    Additionally,Marjam assedsthatPliteq'sLanham Actclaim failsbecausePliteq hasfailed
    to offerany evidence thatthe alleged false statem ents were actually m ade, ori
                                                                                  fthey were

    made,thattheywere false. (DE 170 at15-16)
          ''Tosucceed onafalse advertising claim underj43(a)(1)(B)ofthe Lanham Act,a
    plaintiffmustestablish that(1)the advertisements ofthe opposing party were false or
    m isleading'
               ,(2)the advertisementsdeceived,orhad the capacityto deceive,consumers'
                                                                                    ,
    (3)the deception had a materialeffecton purchasing decisions'
                                                                ,(4)the misrepresented
    productorservice affectsinterstate commerce'
                                               ,and (5)the movanthasbeen- oris Iikely
    to be= injured as a resultofthe false advedising.'' Hickson Corp.v.N.Crossarm Co.,
    357 F.3d 1256,1260 (11th Cir.2004). Importantly,the l
                                                        sLanham Actprohibitsonlythose
    false or m isleading statem ents that occur in the context of dcom m ercialadvedising or

    prom otion.''' Futuristic Fences,Inc.B.Illusion Fence Corp.,558 F.Supp.2d 1270,1278-

    79 (S.D.Fla.2008). The Eleventh Circuithas adopted the following testto determine
    whetherrepresentations constitute com m ercialadvertising orpromotion:

                 ''In orderforrepresentations to consti
                                                      tute com m ercialadvedising or
                 promotion underSection (1125(a)),they mustbe:(1)commercial
                 speech' ,(2)by a defendantwho is in commercialcompetition with
                 plainti
                       ff; (3) for the purpose of influencing consumers to buy
                 defendant's goods orservices.W hile the representations need not
                 be m ade in a ''classic advedising cam paign,''butm ay consistinstead
                 ofmore informaltypes of'promotion,''the representations (4)must
                 be dissem inated sufficiently to the relevant purchasing public to
                 constitute ''advedising''or''prom otion''within thatindustry.'

    Suntree Technologies,Inc.B.Ecosense Intern.,Inc.,693 F.3d 1338,1349 (11th Cir.
    2012),citing Gordon & Breach Sci.Publishers S.A.e.Am.Inst.ofPhysics,859 F.Supp.
    1521 (S.D.N.Y.I994).


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               Pliteq has offered evidence to show that Marjam approached numerous
    businesses, som e of w hich are established customers of Pliteq, and made several

    representationsto them including that(i) uMarjam Supply hasceased selling Geniemat
    productsbyPliteq due to recentinformationaboutillenalactivitv''(DE 188-6 at78-79),(ii)
    Marjam had hired an acousticalengineerto prove thatthe results ofatestconducted by
    Pliteq on the matslùwere fabricated''(DE 188-6 at87)and (iii)the alleged illegalactivity
    ''lhas)Iead (sic)to distributors 'dropping'outof the (GeneMat) Iine'' (DE 186 at 9).
    Addi
       tionally, Pliteq points to correspondences between M etcalf and Downey where

    MetcalfstatesthatMarjam ''
                             w ould spendaninordinateamountoftime ...(to)...recapture
    everything ...making sure thatIwas capturing the business ...in a very aggressive way

    . ..   '(DE 186 at9)and thatas a competitor''EMarjam)willEsic)extreme and unpleasant''
    (DE 163 1115).
              The statements m ade by Metcal
                                           f to Dow ney,read togetherwith the statements

    m ade by M etcalfto third parties,including Pliteq custom ers,create an issue offactas to

    whetherthey were made ''forthe purpose of influencing consum ers to buy defendant's

    9oodsorservices.''W hile Marjam is correctinpointing outthatS'recapturing''business is
    whatcompetitorsdo,thatargumentmissesthe mark.The issue iswhetherMarjam used
    unfair com petition methods to get a business advantage, such as making false or

    m isleading statem ents about Pliteq's products. Pliteq has offered enough evidence to

    create an issue offactin thatrespect. Additionally,the cases cited by Marjam do not
    suppod itsposi
                 tion.lntwo ofthe casescited byMarjam ,thestatements in questionwere
    contained in cease-and-desistIetters sentfrom counsel. Futuristic Fencest558 F.Supp.

    2d at 1278-79'
                 ,Avey Dennison Corp.v.Acco Brands,Inc.,No.CV99-1877DT(MCX),


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    2000W L986995(C.D.Cal.Feb.22,2000).The courtstherefoundthatthosestatements
    were notcom m ercialbecause they were sentby attorneys,notas a m arketing and sales

    tool,butto protect plaintiffs'rights which plaintiffs in those cases believed were being

    infringed by the recipients ofthose statem ents. Futuristic Fences, 558 F,Supp.2d at

    281.
       ,Avery Dennison Corp.,2000 W L 986995 at*7-8.

          In Cascade Yarns,/nc.v.Knitting Fever, lnc.,No.2:10-CV-861 RSM ,2014 W L

    11881033,at*2 (W .D.W ash.Apr.14,2014),the courtfound thatthe statementsatissue
    were not com m ercialbecause ''the explici
                                             t purpose ofthe Ietterwas to help Cascade

    custom ers disgorge them selves ofCascade products due to dissatisfaction with revealed

    Iabeling issues.' Centralto the court's finding was the factthatthe defendantm ade the

    statements while offering its existing customers the ability to return the productfor a

    refund. In thatcontext,the coud found thatthe statem ents 'did m uch m ore than propose

    a commercialtransaction and thusexceedled)the boundsofcommercialspeech.''Id.at
       Here,Marjam's alleged false statements were notmade by counseland were not
    made in the contextofpreempting potentialIiabili
                                                   ty. In fact,Marjam's contentionthatit
    was worried aboutpotentialIiability is contradicted by Marjam's own admission thatit
    continued to sellPliteq's products even afteritIearned ofthe alleged m islabeling issues.

          Finally,w hetherthe statem ents were false orm isleading is an issue offact. As

    previously stated, Marjam's contention that Pliteq mislabeled the mats is genuinely
    disputed by Pliteq in claim ing thatthe productspecifications only provided nom inalvalue




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    and were within the accepted tolerances.llAccordingly, Pliteq's counterclaim forLanham

    Actviolations is a m atterforthe trieroffact.

                 2. UnfairCom petition Claim

           ''To a state a claim forunfaircom petition underFlorida com m on Iaw a party m ust

    plead (1)deceptive orfraudulentconductofa competitorand (2)likelihood ofconsumer
    confusion. The Florida comm on law ofunfaircom petition is an um brella forallstatutory

    and nonstatutory causes ofaction arising out ofbusiness conductw hich is contrary to

    honest practice in industrialor com m ercialm atters.'' Third Parly Verification, Inc. B.

    Signaturelink, lnc.,492 F.Supp.2d 1314,1324 (M.D.Fla.2007) (internalcitations
    omitted). Unfaircompetition underFlorida law can include business interference and
    m isrepresentation. See A/pham ed Pharm aceuticals Corp.v.Arriva Pharm aceuticals,

    lnc.,432 F.Supp.2d 1319,1353 (S.D.Fla.2006).
           Marjam argues thatPliteq's unfaircompetition claim failsforthe same reasons it
    argued thatPli
                 teq's Lanham Actclaim failed. As previously discussed,however, Pliteq

    has offered enough evidence to create an issue ofmaterialfactwith respectto w hether

    Marjam made false orm isleading statements to gain a competitive advantage. Thus,
    Marjam 'smotionforsummaryjudgmentis denied astothis claim .
                 3. CopvrinhtInfrinnementClaim

          Pliteq brings a claim forcopyrightinfringementalleging thatMarjam copied and
    annotated a GenieM at RST brochure foruse with MAPEI,a com petitorwhose product

    wassupplied byMarjam.(DEIN 96-104).Marjam movesforsum maryjudgmentarguing

    11Addi  tionally, the Courtnotes thata determ ination ofw hetherthe actualIabels forthe
    m ats in question contained m isleading orfalse inform ation has becom e aIIbutim possible
    due to Marjam 's untraceable disposalofthose mats.

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    that(i)the claim fails forthe same reason Marjam alleges the Lanham Actand unfair
    competition claims fail,and (ii) the claim fails because Pliteq has failed to offerany
    credible evidence thatMarjam wasthe authorofthe allegedly infringing brochure.
          ''To establish a claim ofcopyrightinfringem ent, (pl
                                                             aintiffs)mustprove (1)ownership
    ofavalid copyright,and (2)copying ofconstituentelementsoftheworkthatare original.''
    Bateman v.Mnemonics,Inc.,79 F.3d 1532,1541(11th Cir.1996).1To prove actionable
    copying,the plaintiffm ustfirstestablish,as a factualm atter, thatthe alleged infringer

    actually used the copyrighted m aterialto create his own work.Proofofcopying m ay be

    shown ei
           ther by directevidence of the copying or,in the absence of such evidence,

    Iclopying as a factualmattertypically may be inferred from proof ofaccess to the
    copyrighted work and Sprobative similarity.'' /d. Marjam does not dispute Pliteq's
    ow nership ofa valid copyright,butitarguesthatPliteq has notoffered credible evidence

    thatMarjam authoredthe infringingwork.
          The CourtfindsthatPliteq has notoffered sufficientevidence to create an issue of

    facton its copyrightclaim . Pliteq's only argum entisthatthe infringing productm usthave

    come from Marjam because Marjam was a distributorforMAPEIproducts. However,
    Pliteq has notoffered an affidavit,an email,oranything butconjecture to show that
    Marjam created ordistributed the infringing work. On the otherhand,Marjam pointsto
    MAPEI'S website which shows thatMAPEIhas at Ieast26 otherdistributors in Florida,

    and anyone ofthem could have created the infringing work. (DE 194-6 at4).1
                                                                             $W e have
    said repeatedly thatspeculation abouta factorresultis insufficientto survive sum m ary

    judgment.An inference based onspeculationand conjecture is notreasonable.''Cordell
    Consultants, Inc. Money Purchase Plan v. Abbott, No. 11-80416-CIV , 2015 W L


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    11539507,at*4 (S.D.Fla.Nov.9,2015),aff'
                                          d sub nom.CordellConsultant,Inc.Money
    Purchase Plan & Tr.B.Abbott,682 F.App'x 867 (11th Cir.2017). Because Pli
                                                                           teq's
    copyrightinfringementclaim is based on nothing butspeculation,this claim cannot be

    m aintained.

                   4. Todious Interference with ContractClaim

          In its counterclaims,Pliteq brings one countfortortious interference with contract

    and one countfortodious interference with potentialbusiness. (DE 21 IN 51-65).
    Because the standard forboth torts is very sim ilar,courts in this districtoften m erge the

    standards to explain the elem ents required to establish a claim foreach tort. See Burger

    King Corp.B.Ashland Equities,Inc.,161 F.Supp.2d 1331,1336 (S.D.Fla.2001)('In
    orderto properly plead a claim fortodious interference w ith a contractualor business

    relationship under Florida law, Defendants m ust assertthe existence of a business

    relationship, not necessarily evidenced by an enforceable contract, under which

    Defendants have Iegalrights.'). However,these are differenttodsand eachone carries
    its ow n standard.

          'To state a claim for todious interference with a contractualrelationship under

    Florida Iaw,a plaintiffm ustallege:(1)the existence ofan enforceable contract,(2)the
    defendant's knowledge ofthatcontract,(3)an intentionaland unjustified interference by
    the defendantwiththe plaintiff's rights underthe contract,and (4)resulting damages.To
    state a claim fortodious interference with a business relationship under Florida Iaw ,a

    plaintiff must allege: (1) the existence a business relationship,(2) the defendant's
    knowledge ofthatrelationship,(3)an intentionaland unjustified interference with the
    relationship,and (4)injury resulting from the breachofthe relationship.''Ace Pro Sound


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    & Recordfng,LLC v.Albertson,512 F.Supp.2d 1259,1268 (S.D.Fla.2007).
                                                                      ,see a/so
    Mattocks v.8/ack EntertainmentTelevision LLC,43 F.Supp.3d 1311,1318 (S.D.Fla.
    2014). lf,forexample,a contract is unenforceable,''then an element of a todious
    interference (with contract)claim is absenta'' MariscottiF.Merco Gro&p AtAkoya,/nc.,
    917 So.2d 890,892 (FIa.3d DCA 2005).
           Marjam contends thatPli
                                 teq's claim fails because Downey could notidentify a
    contract that Marjam interfered with, and Pliteq responds by identifying business
    relationships with whom Marjam allegedly did interfere. However,the evidence offered
    by Pliteq supports a claim fortodious interference w i
                                                         th business relationships and notfor

    todious interference with contract.lz As pointed outby Marjam ,during his deposition,
    Downey him selfwas unable to identify any enforceable contracts between Pliteq and the

    businesses that allegedly stopped using Pliteq's products due to Marjam's
    representations.(DE 172-30at2-3).Forthese reasons,Pliteq hasfailedto offerenough
    evidenceto defeatsummaryjudgmentonthis issue.
    IV.   CONCLUSION

          Accordingly,itis O RDERED AND ADJUDGED as follows:

                 Pliteq's MotionforSummary Judgment(DE 162)is GRANTED IN PART
    AND DENIED IN PART. Pliteq's m otion is G RA NTED as to Counts 1,II,VIand VlIIand

    DENIED as to Counts 111,IV,V and VII.

          (2)    Marjam's MotionforPartialSummaryJudgment(DE 170)isGRANTED IN
    PART AND DENIED IN PART. Marjam 's motion isGRANTED asto Counts land VI
    and DENIED as to Counts lIIand IV ,ofPliteq's Counterclaim s.


    12 Marjam has notmoved forsummary judgmenton Pliteq's counterclaim fortodious
    interference w ith business.
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          DONE AND O RDERED in cham bers in M iam i, Florida,this   ay ofApril,2018.




                                                KATHLEE M .W ILLIAM S
                                                UNITED ATES DISTRICT JUDG E




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